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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                   AT MARTINSBURG

   MICHAEL PAUL PUZEY,

                   Petitioner,

  v.                                                      CIVIL ACTION NO. 3:04CV63
                                                          CRIMINAL ACTION NO. 3:00CR57
                                                          (BROADWATER)

  UNITED STATES OF AMERICA,

                   Respondent.

                    ORDER ADOPTING REPORT AND RECOMMENDATION

          On this day the above styled case came before the Court for consideration of the Report and

  Recommendation of Magistrate Judge James E. Seibert, dated July 1 2005. The defendant was granted

  an extension to file his objections and filed his objections on July 20, 2005. In the interests of justice

  and in accordance with 28 U.S.C. § 636(b)(1), the Court has conducted a de novo review.             After

  reviewing the above, the Court is of the opinion that the Magistrate Judge’s Report and

  Recommendation should be and is hereby ORDERED adopted.

         The Court further ORDERS the petitioner’s petition be DENIED and DISMISSED based on

  the reasons set forth in the Magistrate Judge’s Report and Recommendation. It is further ORDERED

  that this action be and is hereby STRICKEN from the active docket of this Court.

          The Clerk is directed to transmit true copies of this Order to the petitioner and all counsel of

  record herein.

          DATED this 24th day of October 2005.
